` Case 1:1O-cV-0057O-ESC ECF No. 23 filed 09/05/13 Page|D.lZ€ Page 1 of 5
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uEsTERN DISTRIcT oF GRANn RAPIl)s MIcHIeAN SCJwm=_\,a;~l\ §§,

BY _ra\c_'___._ ‘

JESSIE HARRISDN,
Plaintiff, Cass No. 1 :1D-B\l-S7IJ
CDA Nl`J. 10-2185
-V-
Hon. Judge .'.lanet T. Neff
STATE DF MICHIGAN ET. AL’,
Def'endants.

/

MEM|JRANDUM DF L'Ahl IN SUPPDRT DF' THE PL'AINTIFF'S
HDTIDN FUR THE APPDINTHENT DF CDUNSEL

 

Statement-ot`-tbe-Case

This is a Civil Rights case filed under 102 USC §1983 and §1985(3) by a state
prisoner (Pro se) seeking damages and injunctive relief pursuant to his unlawful
confinement in the Michigan Priaon System. The Plaintiff is alleging among other
things, that the defendant acting in their official and/or individual capacities were
and/or are: deliberately indifferent and acted with malice intent, when they caused
and/or allowed actions and/or inactions to occur and continue, that are direct
products cf the discriminatory and cruel and unusual punishment, that caused the
Plaintiff to be unlawfully confined eighteen (18) months in the Michigan Prison
Syatsm in violation of his Federal and State Conatitutional Rights including, but not
limited to: the Fourth, Sixth, Eighth, Eleventh, and Fourteenth Amendmsnts.
Statement of.€ects. §Summaryz

The Cemplaint maintains, that the Plaintiff is entitled to compensation from
the defendants for the unconstitutional time he was forced to serve. where the
defendants and/or their predecessors jointly and/or severely, while acting under the
color of the law acted with deliberate indifference and/or malice intent in one (1)
and/or two (2) ways. Firet, when they used and/or allowed the use of adopted
Discriminatory Customs, Practicee, and/or Procedurea, that they knew and/or should

have known would cause and/or allow the Plaintiff to unconstitutionally be imprisoned

Case 1:1O-cV-0057O-ESC ECF No. 23 filed 09/05/13 Page|D.127 Page 2 of 5

for eighteen (18) months beyond the statutory maximum. Secondly, where the defendants
acted with deliberate indifference and/or malice intent, when their actions and/or
inactions in investigating the Plaintiff'a claim caused and/or allowed him to be
imprisoned for eighteen (18) months beyond the statutory maxim in violation of his
Bonstitutional Rights.

ARBLMENT
Standard - of - Review

In deciding whether to appoint counsel for an indigent litigant, the court
should consider 'the factual complexity of the case, the ability of the indigent to
investigate the facta, the existence of conflicting testimony, the ability of the
indigent to present his claim, and the complexity of the legal issues." Abdullah-v.
|_S_u_gt£, 949 F2d. 1032, 1035 (Bth Cir. 1991)(citation omitted), ert. denied, 112 S.l.`.t.
1995 (1992). In addition, the Courte have suggested that the most important factor is
whether the case appears to have merit. CooEer-v..A..Sargenti.Co...Inc., 877 F2d.
170, 173 (2nd Cir. 1989). Each of those factors weighs in favor of appointing counsel
in this case.

1 . - Indigeoce,aod s AttBt - to ~ Procure - Counael

The Pro se Plaintiff is an indigent prisoner in the l“lichigan Department of
Corrections (MDDC), whose indigence has been established by his Prisoner Account
Statements, which has lead to both the District Court and the Sixth Circuit Court of
Appeals (CDA) granting him Indigency Status. (see Case Dockets).

Despite being granted indigence, the Plaintiff has routinely used the Bar
.'Journal to obtain lawyers names and addresses. Then after eliminating .'.|udgas, and
prosecutors etc. the plaintiff has sent numerous letters to attorneys seeking
representation pro bono and for a percentages based on the successful outcome of the
proceedings, but to no avail. The attorneys that responded either did not practice

Page 2

Case 1:1O-cV-OO57O-ESC ECF No. 23 filed 09/05/13 Page|D.128 Page 3 of 5

law in this area or declined, because it would not be profitable for them or their
firm. However, a Mr. Michael F. williams and his law firm Kirklsnd and Ellia UUP has
agreed to represent me pro bono UNUV IN DEFENDING THE SIXTH CIRCUIT'S DECISIDN,‘£§
IT'S APPEALED TU THE US SUPREME BUURT, but neither Mr. Michael F. williams or his
frim w_ill regresent gp_q_ ai_r_\_ _3_:_?\_§_ ga_s_e_. Hence, the "law of economics", although it might
well attract a lawyer for other litigants - it has proven to take a different turn,
when prison walls intervene, as such the Court should strongly consider appointing
counsel. Merritt v. Eaulkner, 697 F2d. 761, 768, 769 (7th Cir.1983).
2.-Tbe.Eactual.ComElexities

The Plaintiff's allegations pertaining to him being unconstitutionally and/or
illegally imprisoned eighteen (18) months beyond the statutory maximum are many
including: That the MDDC and/pr its Records foice Staff John/Jane Doe(s), who while
acting under the color of the law in violation of clearly established law acted with
deliberate indifference and/or malice intent in creating and/or allowing the creation
and use (continued use) of the adopted discriminatory custom, procedure, and/or
practice of routinely reviewing inmates sentences, convictions, and judgment orders
for mistakes, that they know the Courts make, but only contacting the Court to
correct those mistakes, if it would result in a inmate being released too early and
deliberately not bothering to contact the Court, if the mistake would result in the
inmate serving too much time.

It is the Plaintiff's contention, that the defendants jointly and/or severely
knew and/or should have known of the error in his sentence, that resulted in him
being falsely imprisoned end that they had a duty to contact the Court to correct the
error, but did not do it because of their discriminatory practice, custom, and/or
procedures, as such they subjected the Plaintiff to cruel and unusual punishment,
violated his due process rights, and other Federal and State Constitutional Rights,

when he was forced to serve eighteen (18) months beyond the maximum allowed. Further,

Page 3

Case 1:1O-cV-OO57O-ESC ECF No. 23 filed 09/05/13 PagelD.129 Page 4 of 5

the Plaintiff asserts that the defendants still use the discriminatory practice,
custom, and/or practice and he is entitled to monetary and injunctive relief. Hence,
the sheer number of claims ten (18) makes this a factually complex case, that beacons
appointment of counsel. Maclin.v. Freake, 658 F2d. 885, 887-889 (7th Cir.1981).

3. Jur lTrail.and.|.lack,.of.l.’e al Knowled e

   

The Pro se Plaintiff has requested a jury trial and has little knowledge of the
law and absolutely no knowledge of how to proceed in manners of setting a jury,
questioning witness, or objecting etc.. Additionally, there is no law books in the
law library pertaining such and if there were. The MDUC has a limit on the number of
times and hours a inmate is allowed to use the Law Library and then UNUY IF there is
room, considering the very high number of inmates wishing to use the law library.
These factors also support the appointment of counsel. Rayes-v. Johnson, 969 F2d.
708, 783 (1989); Uhisemant-v. Yuam, 739 F2d. 168, 163 (Bth Cir.1984).
h.7Plaintiff!s¢ability-to.investigate

The Plaintiff is imprisoned within the MDDC and has no ability to investigate
the facta. For example, he is unable to identify, locate, and interview inmates, who
the MDUC Record's Uffice Staff John/Jene Doe(s) contacted the Court to correct
mistakee, that resulted in them being serving more tims. Also, the Plaintiff is
unable to identify, locate, and interview MDDC Records Uffice Staff from 1986 to
present at various HDUC Facilities, as well ss Superviaors, who review inmate files.
Additional, the Plaintiff is unable to conduct deposition etc.. The Plaintiff is in
the same situation, as an inmate who has been transferred to a different institution,
a factor that several courts have cited in appointing counsel. Tucker-v.¢Randall, 948

F2d. 388, 391, 392 (7th Cir.1994); Gatson.v._Coughlin, 679 F.Supp. 278, 273 (1986);

Armstrong v. Snyder, 183 F.R.D. 96, 185 (E.D.Uis.1984); Tucker.v.`Dickey, 613 F.Supp.
1124, 1133, 113# (U.D.Mis.1985).

Page h

Case 1:1O-cV-OO57O-ESC ECF No. 23 filed 09/05/13 PagelD.13O Page 5 of 5

5._Mbrit£Eth-Circuit-Uginion

A very important factor is merit. The Plaintiff's allegations, if proven
clearly would establish various Conetitutional Violation entitling him to relief, but
more importantly in the Sixth Circuit Court of Appeals ruling, that the Plaintiff is
entitled to pursue his claim on the merits and that further Court proceeding would
beat be served by the appearance of attorneys for both parties. (see COA 18-2185
dated July 18, 2813 pg. 13 UZ); see also Cooggr-v._A..Sarggnti.€o.l-Inc., 877 F2d.
178, 173 (2nd Cir.1989).

CUNCUUSIDN

The Plaintiff acknowledges, that he does not have a right to appointment of
counsel in Civil Proceedings. However, pursuant justice he should be given serious
consideration and that this Honorsble Court should request members of the bar to at
the very least assist the Plaintiff in his litigation. DiAng§lo-.v.~.Illinois
Degg£tment-of.Public-Aid, 891 F2d. 1268, 1262 (7th Cir.1989)(...the Court can request
members of bar to aesist...). Especially, whereas here the Plaintiff has alleged a
valid prima facie claim, has attempted to retain counsel and been unsuccessful, and
the nature of the litigation is such, that Plaintiff, as well as the Court will
benefit from assistance of counssl. Nelso.v..Redfield»UithograEh.Prioting, 728 F2d.
1883 (Bth Cir.198#).

MHEREFDE, the Plaintiff prays that the Court grants this motion and provide
whatever else relief it deems fair and proper.

Signsd under the penalties of perjury SeEtember-S,-2883.

FILE Signed,
c.c.

 

Page 5

